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Plaintiff,
vs. Cr. Nb. 02-20215-D
ERIc noRMAYER.
Defendant.
canon

 

After having considered the defendant's motion, for a bond
hearing the Court finds the defendant Waived his detention hearing
and reserved the right to request a detention hearing at a later
date. Therefore the defendant's motion is granted.

IT I.s so oRDERED, this g'(`é day of July 2005.

 

 

ITED STATES DISTRICT COURT JUDGE

 

   

UNITED sATE DISTRICT CoURT - WETERN DISTRCT oFTENNEssEE

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Honorable Bernice Donald
US DISTRICT COURT

